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20                              UNITED STATES DISTRICT COURT

21                             NORTHERN DISTRICT OF CALIFORNIA
22                                    SAN FRANCISCO DIVISION
23
     SYNOPSYS, INC.,                             Case No. 3:20-cv-04151-WHO (LB)
24
                  Plaintiff,                     DEFENDANT SIEMENS INDUSTRY
25                                               SOFTWARE INC.’S UNOPPOSED
            v.                                   ADMINISTRATIVE MOTION FOR
26                                               LEAVE TO FILE STATEMENT OF
     SIEMENS INDUSTRY SOFTWARE INC.,             RECENT DECISION
27
                  Defendant.
28

     MOTION FOR LEAVE TO FILE
     STATEMENT OF RECENT DECISION                              CASE NO. 3:20-cv-04151-WHO (LB)
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 1          Pursuant to Civil Local Rule 7-11 Siemens respectfully moves for leave to file a Statement
 2   of Recent Decision, in this matter related to Defendant’s Motion for Summary Judgment (ECF
 3   No. 317-17). Siemens met and conferred with opposing counsel; this motion is unopposed.
 4   Pursuant to Civil Local Rule 7-11, this motion is submitted with:
 5              •   A Proposed Order granting leave to file a Statement of Recent Decision;
 6              •   A Stipulation pursuant to Civil Local Rules 7-11(a) and 7-12; and
 7              •   The Proposed Statement of Recent Decision, including Exhibit A (a copy of
 8                  Brumfield, Trustee for Ascent Trust v. IBG LLC, No. 2022-1630, 2024 WL 1292151
 9                  (Fed. Cir. Mar. 27, 2024)).
10          Local Rule 7-3(d)(2) only permits a party to file a Statement of Recent Decision for a
11   relevant opinion published after the date the opposition or reply was filed, if the party does so
12   before the noticed hearing date. The briefing on Defendant’s Motion for Summary Judgment
13   completed on January 19, 2024, and the hearing was held on February 7, 2024.
14          On March 27, 2024, the Federal Circuit issued an opinion containing the following passage,
15   indicating that a case that Siemens cited in its briefing has been superseded:
16
            For a determination whether patent damages are properly awarded in a particular
17          case based partly on conduct abroad, the decision in WesternGeco established a
            framework of analysis that necessarily supersedes the analysis set forth in our
18
            earlier decision Power Integrations. . . . . We do not parse Power Integrations to
19          identify which particular sentences are now superseded by WesternGeco.

20   Brumfield, Tr. for Ascent Tr. v. IBG LLC, No. 2022-1630, 2024 WL 1292151, at *12 (Fed. Cir.
21   Mar. 27, 2024). Siemens cited the noted Power Integrations case in its Motion for Summary
22   Judgment. Siemens seeks leave to file supplemental authority to make the Court aware of this case.
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     MOTION FOR LEAVE TO FILE
     STATEMENT OF RECENT DECISION                     -1-                CASE NO. 3:20-cv-04151-WHO (LB)
     Case 3:20-cv-04151-WHO Document 399 Filed 04/01/24 Page 3 of 3



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     MOTION FOR LEAVE TO FILE
     STATEMENT OF RECENT DECISION          -2-            CASE NO. 3:20-cv-04151-WHO (LB)
